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                                                                1 February 2002

Further information on UA 298/01 (MDE 13/046/2002, 27 November 2001) and
follow-up (MDE 13/014/2001, 12 December 2001 details of follow up) - NEW CONCERN:
Fear of possible ill treatment or torture

IRANSiamak Pourzand (m) aged 70, intellectual and manager of Majmue-ye
            Farhangi-ye Honari-ye Tehran (The Tehran Cultural Centre)

Amnesty International is concerned that Siamak Pourzand is being ill treated
and possibly tortured in custody, possibly with the aim of obtaining a
 confession in advance of a trial. No charges have been made against him and
he has been denied the right to legal representation.

There has been no official acknowledgment that Siamak Pourzand is in custody.
 It is not known where and under what conditions he is being held. It is also
not known who is holding him, though some reports indicate that those detaining
him are possibly linked to elements in the judiciary.

Siamak Pour and s sister Mahin Pour and, from hose house he as arrested on
24 November 2001, was requested on 7 December to take him a change of clothes.
He was then possibly held at the Ostad Motahhari Street office of the Committee
for Propagation of Virtue and Prohibition of Vice, which is reportedly also
called the Edare-ye Amaken, or Bureau of Premises. This office is reportedly
responsible for the enforcement of accepted moral codes in companies and other
offices.

Amnesty International has now learned that Mahin Pourzand was permitted to
meet with Siamak Pourzand at the Edare-ye Amaken on 12 or 13 January 2002.
The meeting reportedly lasted 10 minutes and Siamak Pourzand, who arrived by
car from an unknown location, reportedly appeared afraid and weak.

On 10 December Amnesty International wrote to the Head of the Judiciary seeking
urgent clarification of the fate of Siamak Pourzand. There has been no reply
to this letter. Enquiries reportedly undertaken by the Islamic Human Rights
Commission have not been able to establish where Siamak Pourzand is being held.

FURTHER RECOMMENDED ACTION: Please send appeals to arrive as quickly as
possible, in English, French or your own language:
- seeking urgent clarification from the Head of the Judiciary and the Ministry
of Intelligence to make public where and when Siamak Pourzand was arrested,
and where he is detained;
- expressing concern that he appears to be a prisoner of conscience, arrested
solely for the peaceful expression of his beliefs;
- seeking assurances from the Head of the Judiciary and the Ministry of
Intelligence that Siamak Pourzand is not being ill treated or tortured while
in detention;
-urging the authorities that, unless he is to be charged with an internationally
recognized criminal offence, Siamak Pourzand should be released immediately
and unconditionally;
- expressing concern that he has been denied the right to legal representation
and regular family visits;

APPEALS TO:
Leader of the Islamic Republic
His E cellenc A atollah Sa ed     Ali Khamenei,
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The Presidency, Palestine Avenue,
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: Ayatollah Khamenei, Tehran, Iran
Salutation: Your Excellency
Email:      webmaster@wilayah.org; (on the subject line write: For the
attention of the office of His Excellency, Ayatollah al Udhma Khamenei, Qom)

President
His Excellency Hojjatoleslam val Moslemin Sayed Mohammad Khatami
The Presidency, Palestine Avenue
Azerbaijan Intersection, Tehran, Islamic Republic of Iran
Telegrams: President Khatami, Tehran, Iran
E-mail:     khatami@president.ir
Salutation: Your Excellency

Head of the Judiciary
His Excellency Ayatollah Mahmoud Hashemi Shahrudi
Ministry of Justice
Park-e Shahr
Tehran
Islamic Republic of Iran
Telegrams: Head of Judiciary, Tehran, Iran
Faxes:       + 98 21 879 6671 (number may be unreliable; please mark "care of
Director of International Affairs, Judiciary")
Salutation: Your Excellency

Minister of Intelligence
His Excellenc Hojjatoleslam Ali Younesi
Second Negarestan Street
Pasdaran Avenue
Tehran, Islamic Republic of Iran
Telegrams: Intelligence Minister, Tehran, Iran
Salutation: Your Excellency

COPIES TO:
Minister of Foreign Affairs,
His Excellency Kamal Kharrazi
Ministry of Foreign Affairs, Sheikh Abdolmajid Keshk-e Mesri Av
Tehran, Islamic Republic of Iran
Telegrams: Foreign Affairs Minister, Tehran, Iran
Faxes:      + 98 21 390 1999 (number may be unreliable; please mark "care of
the Human Rights Department, Foreign Ministry)
Salutation: Your Excellency

Parliamentary Committee
Mohsen Mirdamadi Najafabadi
Article 90 Commission (Komisyon-e Asl-e Navad), Majles-e Shura-ye Eslami, Imam
Khomeini Avenue, Tehran, Islamic Republic of Iran
Telegrams: Majles, Tehran, Iran
Telex: 21 42 32 ICAI IR
Faxes:       + 98 21 646 1746 (Can be difficult to reach, please be patient)
Salutation: Dear Sir

COPIES TO: Diplomatic representatives of Iran accredited to your country.
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PLEASE SEND APPEALS IMMEDIATELY. Check with the International Secretariat,
or your section office, if sending appeals after 15 March 2002.
